
		
OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. MARRS

					

				
  



				
					
					
						
						Previous Case


						
						Top Of Index


						
						This Point in Index


						
						Citationize


						
						Next Case


						
						Print Only

					
					
				

				
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. MARRS2024 OK 26Case Number: SCBD-7599Decided: 04/15/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 26, __ P.3d __

				

NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 






STATE OF OKLAHOMA ex rel., OKLAHOMA BAR ASSOCIATION,v.RICHARD DAVID MARRS, Respondent.
ORDER APPROVING RESIGNATION FROM THE OKLAHOMA BAR ASSOCIATION PENDING DISCIPLINARY PROCEEDINGS
¶1 Pursuant to Rule 8 (Resignation Pending Disciplinary Proceedings), Oklahoma Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011, ch. 1, app. 1-A, Respondent submitted an affidavit, filed April 5, 2024, seeking to resign his membership in the Oklahoma Bar Association (OBA) and relinquish his right to practice law pending disciplinary proceedings. On the same date, Complainant filed an application to this Court for an order approving the resignation of Respondent and an application to assess costs in the amount of $1,468.01. Upon consideration of the matter we find:
1. Respondent executed an affidavit on March 28, 2024, wherein he asks to be allowed to resign his membership in the OBA and relinquish his right to practice law. Respondent is aware that his resignation is subject to the approval of this Court within its discretion and upon its acceptance, he avers he will conduct his affairs accordingly.
2. Respondent's resignation was freely and voluntarily tendered, he was not subject to coercion or duress, and he was fully aware of the consequences of submitting his resignation.
3. Respondent is aware that formal charges have been filed against him pursuant to Rule 6 in SCBD 7599, alleging two counts of violations of the Oklahoma Rules of Professional Conduct and Rules Governing Disciplinary Proceedings, with enhancement based on a prior private reprimand in OBAD No. 2305. Respondent attached a copy of the Complaint, filed January 11, 2024, setting forth the specific allegations against him. 
4. Respondent is aware that, if proven, the allegations concerning his conduct would constitute violations of Rules 1.1, 1.3, 1.4, 1.5(c), 3.1, 3.2, 8.4(a),(c), and (d) of the Oklahoma Rules of Professional Conduct (ORPC), 5 O.S.2011, ch. 1, app. 3-A, Rule 1.3, RGDP, and his oath as an attorney. Respondent waives any right to contest the allegations. 
5. Respondent's Oklahoma Bar Association Number is 5705 and he was admitted to membership in the OBA on October 7, 1976. Respondent's official roster address is: 10209 S. Knoxville Ave., Tulsa, OK 74137-5725.
6. Respondent has familiarized himself with the provisions of Rule 9.1, RGDP, and has agreed to comply with the provisions of such Rule within twenty days following the date of his affidavit of resignation.
7. Respondent acknowledges and agrees he may be reinstated to practice law only upon full compliance with the conditions and procedures prescribed by Rule 11, RGDP, and that he may make no application for reinstatement to the practice of law prior to the expiration of five years from the effective date of the Order approving his Resignation Pending Disciplinary Proceedings.
8. Respondent acknowledges that as a result of his conduct, the Client Security Fund may receive claims from his former clients and agrees that should the Oklahoma Bar Association approve and pay such claims, he will reimburse the Client Security Fund the principal amounts and the applicable statutory interest prior to the filing of any application for reinstatement.
9. Respondent affirms he will tender his Oklahoma Bar Association membership card to the Office of the General Counsel or destroy it. 
10. Respondent acknowledges and agrees he will cooperate with the Office of the General Counsel in identifying any active client cases wherein documents and files need to be returned to the client or forwarded to new counsel, and any fees or refunds owed by him to clients.
11. Respondent acknowledges that the OBA has incurred costs in this matter and agrees that he is responsible to reimburse same upon the filing of an application to assess costs by the Complainant.
12. The resignation pending disciplinary proceedings of Respondent is in compliance with Rule 8.1, RGDP.
¶2 IT IS ORDERED that Complainant's application for an Order approving the resignation pending disciplinary proceedings of Respondent, Richard David Marrs, is granted, Respondent's resignation is accepted and approved, and his right to practice law is relinquished as of the date of his affidavit of resignation.
¶3 IT IS FURTHER ORDERED that Respondent's name, Richard David Marrs, be stricken from the Roll of Attorneys and that he may not apply for reinstatement to membership in the Oklahoma Bar Association prior to expiration of five years from the effective date of this Order.
¶4 IT IS FURTHER ORDERED that Respondent shall comply with Rule 9.1, of the Rules Governing Disciplinary Proceedings.
¶5 IT IS FURTHER ORDERED that Respondent shall pay costs in the amount of $1,468.01 to the Oklahoma Bar Association within ninety (90) days of the date of this Order.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE the 15th day of April, 2024.
&nbsp;
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR. 




	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		






	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
